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                                  ID #:898




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  ~ How t o block phone num... X          ~ Mail - Richard - Out look           X     +                                                                                                                                      X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                      0. Search

;;;        Outlook Email                                                                                                                                                                                 0       •   e   ?
Search Mal aod Peop3e        0.   @ New      V        .., Reply         j   Delete   ii Archive   Junk. v    Sw eep    Move t o v      Categories v                              1'       ,I,   X      ") Undo


                                  (No subj ect)
"' Fo lders
          !nbox
          Junk Emal               A, Fion a Harvey                                                                                                                           •        ,,...     . , Reply I "
                                  . . . Wed 07/01/zotS 16Z-'
          Drafts
                                            You "
          Sent Items

      v   Deietedltems     226    from now on do call folk retards partic if in the labour party if stark raving homos or castholics

          Amazon
                                  im right behind you
          Arctwe
                                  ill need to go t o three separate courts tomorrow to clear up the mess George has caused
          EDFRINGE2013
          EDFRINGE 2014
          EDFRINGE 2016           hes a Glasgow catholic poofter educzated down here it total fie up

      ,, Rona Harvt'Y             t a for listening
             Intense
                                  not only that hes a cheeky c tall over t he email all day today
             Super Intense

          lmiX)rtant              im not norm a lty this bads
          Junk
                                  Ijust hate cat h olics poofters etc
          W FGPiot

          W resf,emania           and im a racist

          EDFRINGE 20 15
                                  apart from that im a really sweet wee girleie good at sedx




                                                                                                                                                                                                                 ., I>




                                                                                                                      EXHIBIT 48
                                                                                                                       Page 137
                            Case 2:24-cv-04744-RGK-AJR                                                     Document 27-48                            Filed 07/29/24                          Page 4 of 32 Page
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  ~ How t o block phone num... X         ~ Mail - Richard - Out look              X       +                                                                                                                                                                  DI        X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                              0. Search

;;;       Outlook Email                                                                                                                                                                                                                0        •    e        ?
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                                 (No subject)                                                                                                                                                                                                                The
"' Fo lders                                                                                                                                                                                                                                              difference
         !nbox                   A         Fion a Harvey                                                                                                                                                    •         ,,,,,..    4, Reply v
        Junk Emal                . . SJr 15/02/2015. 1
                                                                  REDACTED                                                                                                                                                                               is Audible
                                     You; Fkma. Ha.rve,
         Drafts

         Sent Items              t hrowing out clothes cos i need t o spend ten grand on new clothes fo r office etc
      v Deietedltems     226
                                 camden would make one a racist . i put out one bin bagh was just about t ol leave t o put it out coveredd in spittle by m uslims passing by
        Amazon

        Arctwe                   now they take it up the ass all the time dont buy bog roll instead use t heir hands and dont wash and hey spit on my bin bag cos im an infidel who t he hell is racist there?

         EDFRINGE2013
                                 i have to go to another burgh t o do banking noone: can get up and down camden high street
         EDFRINGE 2014
         EDFRINGE 2016           i need to use: back streets all the: time: cos of the: touri.stys who wont move:                                                                                                                                         Download
      ,, Rona Harvt'Y
                                                                                                                                                                                                                                                           your free
                                 nige:I still has an office: he:re: and we stote file:s in old flat                                                                                                                                                       audobook



                                                                                                                                                                                                                                                     ··••·
            Intense                                                                                                                                                                                                                                         now·
                                 its a b mess t his burgh
            Super Intense

         lmiX)rtant

        Junk

        WFGPiot

        Wresf,emania

         EDFRINGE 2015
                                 everyone has at least four weans

                                 ill tell you what i ddi enjoy t hat prog on steve mcqueen at t t ime

                                 gorgeous eyes
                                                                                                                                                                                                                                                      __
                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                     audiblP
                                                                                                                                                                                                                                                                   ~




                                 t he t hree wives looked the same

                                 i knew what ali mcgraw looked like but not the otjhers...they all looked the same

                                 qwhich proves my point men are imbeciles they even go out with folk who look the same

                                 id better go
                                                                                                                                                                                                                                                "   I>




                                                                                                                        EXHIBIT 48
                                                                                                                         Page 138
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                                                                                                                                                           ID #:902




  ~ How t o block phone num ... X            ~ M ail - Richard - Out look                                X          +                                                                                                                                                                                                          DI   X

+ ii (D Q https://outlook.liv e.com/owa/?path=/mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                                                                                                                            0. Search

;;;       Outlook Email                                                                                                                                                                                                                                                                                       0       •   e     ?
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                                 hawley arms                                                                                                                                                                                                                                                                               Horror
"' Folders                                                                                                                                                                                                                                                                                                                  that
        !nbox
                                 A, Fiona Harvey                                                                                                                                                                                                                                  •        ,,...     . , Reply I "         sounds
        Junk Emal

         Drafts
                                 w-             Wed 23/12/2015 I
                                                 You; F10n.a Harve-        REDACTED                                                                                                                                                                                                                                       so good. ..
         Sent Items

      v Deietedltems     226     I    You forwarded this mes.sage on 02/02/201617:15

        Amazon
                                 your place of work was allegedly raided by several agencies last saturday?
        Arctwe
                                 a little birdie t()ld me
         EDFRINGE 2013
         EDFRINGE 2014           ?'?'?'?'??'?'?'?'?'?'?'??'?"7??'?'?'?'?'?'?'??'?'??'?'?'?'??'?'??'?'?'?'??'?'??'?'?'???'?'??'?'?'???'?'??'?'?'???'?'???'?'???'?'?'??'?'???'?'???'?'???'?'???'?'7??"?'??'?'?'?'??'?'?'?'?'?'7??'?'??'?'?'7??'?'7?'?'?'7??'?'?'

         EDFRINGE 2016
      ,, Rona Harvt'Y
            Intense

            Super Intense

         lmiX)rtant

        Junk

        WFGPiot

        Wresf,emania

         EDFRINGE 2015
                                                                                                                                                                                                                                                                                                                          ..   __
                                                                                                                                                                                                                                                                                                                          audiblP
                                                                                                                                                                                                                                                                                                                                    ~




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                                                                                                                                                                             Page 139
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  ~ How t o block phone num ... X           ~ M ail - Richard - Out look            X     +                                                                                                                                             X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                            0. Search

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                                  (No subject)
                                                                                                                                                                                                                               Get this
"' Fo lders                                                                                                                                                                                                                    close to
          !nbox

          Junk Emal               A, Fiona_Harvey                                                                                                                                  •        ,,...     . , Reply I "        Comedy...
                                  . . . Tt-u Z110.t.. 1320
          Drafts
                                              You "
          Sent Items

      v   Deietedltems    226

          Amazon

          Arctwe
                                   .....,
                                   ~
                                              photo.JPG
                                              823KB

                                  2tTttCro.,...,.,n !2.!KB)   OownlOtdtl
                                                                                         n    ATT00001.txt
                                                                                             333'1,1.es

                                                                               ~ .. toOM~•P«1onll
          EDFRINGE2013
          EDFRINGE 2014           My n ew pants. I'm ooln o out I'm oolno mad

          EDFRINGE 2016
      ,, Rona Harvt'Y
             Intense

             Super Intense

          lmiX)rtant

          Junk

          WFGPiot

          Wresf,emania

          EDFRINGE 2015
                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                           audiblP  __  ~




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  ~ How t o block phone num ... X        ~ M ail - Richard - Out look        X     +                                                                                                                                                         DI     X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                                0. Search

;;;        Outlook Email                                                                                                                                                                                                  0       •   e       ?
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                                  (No subject)
                                                                                                                                                                                                                                           Make
"' Fo lders                                                                                                                                                                                                                               Science
          !nbox
                                                                                                                                                                                                                                          rict1on ...
          Junk Emal

          Drafts                  GI'      Fiona Harvey
                                           ~0" 24'11/ZOT4. 03:.:!S
                                           You "
                                                                                                                                                                                              •        ,,...     . , Reply I "




      v
          Sent Items

          Deietedltems

          Amazon
                           226    I had a w eirdo dream last night. Don't normally dream. U w ere bonk.ing an old IAdy about eighty and screaming I love u I love u. It w as horrible.

                                  Sent f rom my i Phone
                                                                                                                                                                                                                                             •
          Arctwe

          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
      ,, Rona Harvt'Y
             Intense

             Super Intense

          lmiX)rtant

          Junk

          WFGPiot

          W resf,emania

          EDFRINGE 20 15
                                                                                                                                                                                                                                      ..   __
                                                                                                                                                                                                                                      audiblP
                                                                                                                                                                                                                                                   ~




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  ~ How to block phone num... X            ~ M ail - Richard - Out look         X     +                                                                                                                                DI        X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                         0. Search

;;;        Outlook Email                                                                                                                                                                         0        •    e        ?
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                                      From: Fiona Harv          REDACTED                                                                                                                                               The
                                      Date: 2> M ay 201
"' Fo lders                           To: Fiona H arvey        REDACTED                                                                                                                                            difference
          !nbox
                                  I
          Junk Emal                                                                                                                                                                                                is Audible
                                      For the first t im e ever I slammed off the daily politics show
          Drafts

          Sent Items                  I normally h av e it on in the background w hilst I'm doing stuff if t can

      v   Deietedltems     226
                                      I thought if t get one m ore peep. Out of so called f em inist s gay or ethnic m inority folk ill bfow my top
          Amazon
                                      Who cam e on bonnie Greer
          Arctwe

          EDFRINGE 2013               I could not get hold of that remote control quick enough
          EDFRINGE 2014
                                      Maybe: I'm having a mid life crisis but I don't want to hear social groups whi feing
          EDFRINGE 2016                                                                                                                                                                                             Download
      ,, Rona Harvt'Y                 Oh I'm gay I'm gay                                                                                                                                                             your free
                                                                                                                                                                                                                    audobook




                                                                                                                                                                                                               ··••·
             Intense                                                                                                                                                                                                  now·
                                      Oh I'm blac k in black
             Super Intense

          lmiX)rtant

          Junk

          WFGPiot

          W resf,emania

          EDFRINGE 20 15
                                      Oh ima Muslim poor me

                                      Oh I'm t rying to be a pretend f eminist poor me

                                      It does my b loody head in

                                      No y ou are t rying to make m oney out of being a w hinger
                                                                                                                                                                                                                __
                                                                                                                                                                                                               ..
                                                                                                                                                                                                               audiblP
                                                                                                                                                                                                                             ~




                                      Maybe I should eat my dinner before reading the l love me w ho do u lov e newspaper all about mr khan

                                      lt used t o be called the evening standard

                                      Now it 's called the khan com ic                                                                                                                                    "   I>




                                                                                                                            EXHIBIT 48
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  ~ How to block phone num... X           ~ M ail - Richard - Out look            X    +                                                                                                                                   DI   X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                        0. Search

;;;        Outlook Email                                                                                                                                                                                   0       •   e    ?
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                                  (No subject)
"' Fo lders
          !nbox

          Junk Emal               A, Fiona Harvey                                                                                                                              •        ,,...     . , Reply I "
                                  . . . Wed 11/0S 17:17
          Drafts
                                            You "
          Sent Items
                                  This bleeding i s easing off slightly 1think.
      v   Deietedltems     226
                                  I just w ant t o g ive u loads and loads of blow j obs t o make you sleep
          Amazon

          Arctwe
                                  Sent from my I Phone
          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
      ,, Rona Harvt'Y
             Intense

             Super Intense

          lmiX)rtant

          Junk

          WFGPiot

          W resf,emania

          EDFRINGE 20 15




                                                                                                                                                                                                                   ., I>




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   ~ How to block phone num... X            . ) M ail - Richard - Out look           X     +                                                                                                                                    DI   X

 + ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                       X   0. Search

 ;;;        Outlook Email                                                                                                                                                                                       0       •   e    ?
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                                   (No subject)
 "' Fo lders
           !nbox

           Junk Emal               A , Fi.on a_ Harvey                                                                                                                              •        ,,...     . , Reply I "
                                   . . . Fn 1S/O ' 20:18
           Drafts
                                              You "
           Sent Items
                                   I w as up t ill four last night t ired.
       v   Deietedltems    226
                                   It's turkey k.ick.ing off now
           Amazon

           Arctwe                  I hat e Muslims. They r nut s.

           EDFRINGE 2013           Sent from my !Phone
           EDFRINGE 2014
           EDFRINGE 2016
       ,. Fiona Harvey
              Intense

              Super lntf"M€

           lmiX)rtant

           Junk

           W FGPiot

           W resf,emania

           EDFRINGE 2015




Read cdn.ipromote.com                                                                                                                                                                                                   ., I>




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                                                                                                                   ID #:908




   ~ How to block phone num... X               n Ma il - Richard - Out look        X     +                                                                                                                                       X

  + ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                   X   0. Search

 ;;;        Outlook Email                                                                                                                                                                                    0       •   e   ?
  Search M al aod Peop3e      0.    @ New        V      .., Reply       j     Delet e   ii Archive   Junk.   v   Sw eep    Move t o v   Categories v                                 1'       ,I,   X      '9 Undo


                                     (No subj ect)
 "' Fo lders
           !nbox

           Junk Emal                A, Fion a Harvey                                                                                                                             •        ,,...     . , Reply I "
                                    . . . Fri 1S/O..,. 16L3
           Drafts
                                                You "
           Sent Items
                                    All Moslems sh ould be tied up by the balls t o hang f rom t rees.
       v   Deieted ltems    226
                                     Sent f rom my i Phone
           Amazon

           Arctwe

           EDFRINGE 2013
           EDFRINGE 2014
           EDFRINGE 2016
       ,. Fiona Harvey
              Intense

              Super lntf"M€

           lmiX)rtant

           Junk
           W FG Piot

           Wresf,emania

           EDFRINGE 20 15




Transferring data from ad.doubleclick.net...                                                                                                                                                                         ., I>




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  ~ How to block phone num... X        ~ M ail - Richard - Out look          X     +                                                                                                                                          X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                      0. Search

;;;       Outlook Email                                                                                                                                                                                   0       •   e   ?
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                                (No subject)
"' Fo lders
        !nbox

        Junk Emal               A , Fiona Harvey                                                                                                                              •        ,,...     . , Reply I "
                                . . . Sul" 31i07 15-1 8
        Drafts
                                         You "
        Sent Items
                                Just for the record I have mult iple orgasms cos I t rain my men up sexually
      v Deietedltems    226
                                So in your show u said u give your mum am orgasm
        Amazon

        Arctwe                  Poor mum

        EDFRINGE2013            It 's technlcally flawed your show
        EDFRINGE 2014
                                lt'S a good laugn but my bum w ill not recover from t nat cnalr
        EDFRINGE 2016
                                Maybe I should sue
      ,. Fiona Harvey
           Intense

           Super lntf"M€
                                Sent from my i Phone
        lmiX)rtant

        Junk

        WFGPiot

        Wresf,emania

        EDFRINGE 2015




                                                                                                                                                                                                                  ., I>




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   ~ How t o block phone num... X           J Ma il - Richard - Out look       X     +                                                                                                                                              DI   X

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 ;;;        Outlook Email                                                                                                                                                                                           0       •   e    ?
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                                   (No subject)
 "' Fo lders
           !nbox

           Junk Emal

           Drafts                  GI'       Fiona Harvey
                                             Fri 30/01/2015 16.5'
                                             You; F10n.a Harve\     REDACTED
                                                                                                                                                                                                            +, Reply I v


           Sent Items

       v   Deietedltems     226    youve got a ve ry big enemy in the acting world. lm not t elling you who that is but t hey are saying you are all image image and a pain in t he butt

           Amazon
                                   fran kly im not surprised
           Arctwe

           EDFRINGE2013
                                   narcissists are like that
           EDFRINGE 2014
           EDFRINGE 2016           got to go the snp have j ust selected soem very good women westminster candidat es

       ,, Rona Harvt'Y             jo cherry qc w ho I know and nat alie mcgarry
              Intense
                                   mcgarry will t a ke that seat off curran
              Super Intense

           lmiX)rtant              been kept back by jobsworths all day
           Junk
                                   everyone is say ign you are a wee yap dear
           W FGPiot

           W resf,emania           they have started demolishing t he crap bit of cam den just at the back of hawley

           EDFRINGE 20 15
                                   good..

                                   camden is going




Waiting for secure-ams.adnxs.com ...                                                                                                                                                                                        ., I>




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  ~ How to block phone num... X           ~ M ail - Richard - Out look          X     +                                                                                                                                  DI   X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                      0. Search

;;;        Outlook Email                                                                                                                                                                                 0       •   e    ?
Search Mal aod Peop3e        0.   @ New      V       .., Reply         j   Delete    i i Archive   Junk.   v   Sw eep    Move t o v   Categories v                                1'       ,I,   X     '9 Undo


                                  (No subject)
"' Fo lders
          !nbox

          Junk Emal               A, Fiona Harvey                                                                                                                             •        ,,...     ., Reply I "
                                  . . . ~0" 01/08 21.:23
          Drafts
                                            You "
          Sent Items
                                  Guy I met tonight had heard of u
      v   Deietedltems    226
                                  He"s in the arts
          Amazon

          Arctwe                  Guy my age

          EDFRINGE 2013           Oh he's a bit edgy him he says
          EDFRINGE 2014
                                  I told him some of theJokes
          EDFRINGE 2016
                                  You'll be f ine if u Just avoid that hawley bar.
      ,. Fiona Harvey
             Intense              Sent from my i Phone

             Super lntf"M€

          lmiX)rtant

          Junk
          WFGPiot

          W resf,emania

          EDFRINGE 2015




                                                                                                                                                                                                                 ., I>




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  ~ How to block phone num... X         ~ M ail - Richard - Out look           X         +                                                                                                                                  DI     X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                    0. Search

;;;       Outlook Email                                                                                                                                                                                 0       •    e       ?
Search Mal aod Peop3e      0.   @ New      V      .., Reply          j   Delete     i i Archive   Junk.   v   Sweep    Move t o v   Categories v                                1'       ,I,   X      '9 Undo       AmericanAirlines '\.

                                (No subject)
"' Fo lders
         !nbox

        Junk Emal               A, Fiona Harvey                                                                                                                             •        ,,...     . , Reply I "
                                . . . Sur, 07/0S 10:18
         Drafts
                                          You "
         Sent Items
                                Richard gadd I w ant to suck. your cock. all day and get my brains fucked out
      v Deieted ltems    226
                                Edinburgh is n ot ideal f or me this t ime of year !!!
        Amazon

        Arctwe                  Sent from my i Phone

         EDFRINGE 2013
         EDFRINGE 2014
         EDFRINGE 2016
      ... Fiona Harvey
         Important
        Junk
        WFG Piot

        Wrestemallla

         EDFRINGE 2015

                                                                                                                                                                                                                                   e


                                                                                                                                                                                                                ., I>




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  ~ How to block phone num... X        ( ' M ail - Richard - Out look       X     +                                                                                                                                   DI   X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                  0. Search

;;;       Outlook Email                                                                                                                                                                               0       •   e    ?
Search Mal aod Peop3e      0.   @ New      V     .., Reply          j   Delete   i i Archive   Junk.   v   Sw eep    Move t o v   Categories v                                1'       ,I,   X      '9 Undo


                                (No subject)
"' Fo lders
         !nbox

        Junk Emal               A, Fiona Harvey                                                                                                                           •        ,,...     . , Reply I "
                                . . . Sat 06./08 1H)3
         Drafts
                                         You "
         Sent Items
                                London very dangerous all these Somalians
      v Deietedltems     226
                                I t old u t hey w ere nothing but trouble
        Amazon

        Arctwe

         EDFRINGE 2013          Sent from my !Phone
         EDFRINGE 2014
         EDFRINGE 2016
      ... Fiona Harvey
         Important
        Junk
        WFG Piot

        Wrestemallla

         EDFRINGE 2015




                                                                                                                                                                                                              ., I>




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   ~ How to block phone num... X            C" M ail - Richard - Out look         X     +                                                                                                                                      DI   X

  + ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                     X   0. Search

 ;;;       Outlook Email                                                                                                                                                                                       0       •   e    ?
  Search Mal aod Peop3e     0.      @ New      V      .., Reply         j     Delete   i i Archive   Junk    v     Sw eep    Move t o v   Categories v                                 1'       ,I,   X      '9 Undo


                                     (No subject)
 "' Fo lders
         !nbox

         Junk Emal                  A, Fiona. Harvey                                                                                                                               •        ,,...     . , Reply I "
                                    . . . 5ur-2,1..;cr710'.03
         Drafts
                                              You "
         Sent Items
                                     I w as gonna come see your show at Harrison's bar
       v Deietedltems     226
                                     I came over all t ired at five had already been in camden and kings cross yesterday morning
         Amazon

         Arctwe                      Got sunburnt but w as very sick then diarrhoea lat er

         EDFRINGE2013                Had t o nap
         EDFRINGE 2014
                                     lt'S a bug or acid reflux or sunstroke
         EDFRINGE 2016
                                     I can't stand all the bloody forelgntrs in the stru t s this time year but was genuinely sick
       ,. Fiona Harvey

            Intense                  I did so much w ant to see it and let u fuck my brains put.

            Super lntf"M€
                                     Sent from my i Phone
         lmiX)rtant

         Junk

         WFGPiot

         Wresf,emania

         EDFRINGE 2015




W aiting fortps619.doubleverify.com ...                                                                                                                                                                                ., I>




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 Foyles Book Search             X   ~ Mail - Richard - Outlook         X   +                                                                                                                                         DI          X

+ (D ill, https://outlook.liv e.com/owa(lpath =/mail/AQMkADAwATY0MDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADkYXZ4                                         0. Search

m        Outlook Email                                                                                                                                                                  0        •         t!I       ?
Search M ail and People              (±) New I v            ~ Reply I v    iiii Delet e       ii Archive    Junk I v   Sweep      M ove to v      Categories v               t         '9 Undo
                                     tNo SUbJeCt)




                                     •
"' Folders
        lnbox              5                        Fiona Harvey                                                                                                             t9   ~ Reply   Iv
                                                    Sun 01/05, 15:34
        Junk Email
                                                    You ~
        Drafts
                                     I'm a wreck today. I've hit itchy pubic hair too
        Sent Items                                                                                                                                                                                               Receive
                                     It 's a rash
    v   Deleted Items     265
                                                                                                                                                                                                     . ,    11_ I!   11     iI
        Amazon                       The trick is not t o shave cos then u get prickly heat

        Archive                                                                                                                                                                                             Membership
                                     TgSt M ichael asshole I slept whh said oh I love your pubic hair kind of nice l ady garden t hing not too curly wurly not t oo shaved
        EDFRINGE 2013                                                                                                                                                                                        Rewards•
                                     As dhole of the century None of his business
        EDFRINGE 2014                                                                                                                                                                                            poi nts•
        EDFRINGE 2015                This is the one who woke up in the morning said he went to orgies

        EDFRINGE 2016                Why did I go there

    " Fiona Harvey
                                     I hot footed it to the clap clinic but made him wear jonnys
           Intense
                                     Oh I've got a lovely dick said he
           Super Intense

        Important                    Gadd it was Fg minute. I couldn't find it

        Junk                         That wasy my worst shag ever
        WFG Pilot
                                     Sent from my iPhone




                                                                                                           EXHIBIT 48
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 Foyles Book Search             X   ~ Mail - Richard - Outlook     X      +                                                                                                                           DI   X

+ (D ill, https://outlook.liv e.com/owa(lpath =/mail/AQMkADAwATY0MDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADkYXZ4                           <!   0. Search

m        Outlook Email                                                                                                                                                             0        •   t!I   ?
Search M ail and People

                               °'                       ~ Reply I"        iiii Delete
                                        You are naive ugly stupid and badly educated
                                                                                        ii Archiv e    Junk I "   Sw eep   M ov e t o "   Cat egories "                           '9 Undo



"' Folders                              That is me being generous!!!!!!
        lnbox              5

        Junk Email                      You have no future in acting or wtih that silly crude show
        Drafts

        Sent Items
                                        That channel four documenttary I doont t hink will air or that thing you are doing
    v   Deleted Items     265
                                        This is the tip of the iceberg of what I could be saying.
        Amazon

        Archive                         Noonbe who has ever worked for that bar will ever be allowed to run their own pub
        EDFRINGE 2013
                                        Objectionas have been lodged in advance
        EDFRINGE 2014

                                    -
                                     REDACTED ill not be hired by any law fitrm known t o me
        EDFRINGE 2015

        EDFRINGE 2016
                                        that mad theatre course at glasgow will be deprived of funding in the fullness of time
    "   Fiona H arvey
                                        So emigrate but not t o anywhere I ego on holidfay keep oput of my way and keep out of the way of anyone I know and do not defame
           Intense
                                        people
           Super Intense

        Important                       That is ftranldy all I have to say on the matter

        Junk                            t here are also a numbner of people sig ning on as you puit it and working in t he hawley arms and t hey are not declaring tips for tax
        WFG Pilot
                                        A numbnetr of oeoolel also do not haev leave t o remain in the4 count rv




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 Foyles Book Search             X   ~ Mail - Richard - Outlook           X       +                                                                                                                DI   X

+ (D ill, https://outlook.liv e.com/owa(lpath =/mail/AQMkADAwATY0MDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADkYXZ4                                            0. Search


m        Outlook Email                                                                                                                                                         0        •   t!I   ?
Search M ail and People                                    ~ Reply I"              iiii Delete   ii Archiv e       Junk I "    Sweep     M ove to v   Categories v    t       '9 Undo

                                     Why dont you move back to glasgow Thats qa workshy catholic m afia kind of place full of paedos and gangs and liars and crimb os..That
"' Folders                           mig ht suit you j ust fine
        lnbox              5
                                    ~ right about one t hing
                                    REDACTED

        Junk Email

        Drafts
                                     Evetryone in t he area does think he is gay.That is correct.
        Sent Items

    v   Deleted Items     265
        Amazon                       Now stay away from me

        Archive                      Your email is now blocked from my accopunt
        EDFRINGE 2013
                                     You never had my main phone number anyway
        EDFRINGE 2014

        EDFRINGE 2015                My contacts arfe considerable in eevry walk of life and tehy are all very angry wit h you and t he other staff at the hawley arms

        EDFRINGE 2016                                  REDACTED
                                     I do nt know-                nd his wife
    "   Fiona H arvey

           Intense                   I have heard derogatory comment s but I dont know them
                                                                                                                        REDACTED     REDACTED
           Super Intense             At t he soho t hetare I did not t aslk t o doug. It was that wee idio~                        ndlllll,,ho verballed me
                                                               REDACTED
        Important                    my quarrel is not qwith-           nd t he wife.
                                                                                   REDACTED
        Junk                                                                                                   REDACTED
                                     oh t hats anothr thing how come.                      , a film director if-        gns o n as you put it
        WFG Pilot
                                     h n \u r n rn~
                                                      REDACTED
                                                                  ~ f ilm rlir,:,,rlnr




                                                                                                               EXHIBIT 48
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 Foyles Book Search             X   ~ Mail - Richard - Outlook       X   +                                                                                                             DI   X

+ (D ill, https://outlook.liv e.com/owa(lpath =/mail/AQMkADAwATY0MDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADkYXZ4                        <!   0. Search

m        Outlook Email                                                                                                                                              0        •   t!I   ?
Search M ail and People                                 ~ Reply I"       iiii Delete   ii Archiv e    Junk I "   Sweep   Move t o "    Cat egories "               '9 Undo


"' Folders
        lnbox

        Junk Email

        Drafts

        Sent Items
                           5

                                     •          Fiona Harvey
                                                Sun 28/12/2014, 1l
                                                You; Fiona Harv .    REDACTED
                                     hi my clitoris dropped off....too much mast urbation
                                                                                                                                                              ~ Reply   Iv




    v   Deleted Items     265
        Amazon
                                     i hope yolu managed tyo avoid stray bin lorries during your glasgow show
        Archive

        EDFRINGE 2013                ive got court dates all over the place in the new year...work george has not done.. then its my own firm

        EDFRINGE 2014                had a l;ovely xmas day just pleasing myself
        EDFRINGE 2015
                                     hope you and youyr mad head are well
        EDFRINGE 2016

    " Fiona Harvey                   fxxx

           Intense

           Super Intense             going to hawley hogmanay partry why dont you come
        Important
                                     my internet has been all down
        Junk

        WFG Pilot                    i very much qwanted t o emigratwe yesterday t o new york




                                                                                                     EXHIBIT 48
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 Foyles Book Search              X   :) Mail - Richard - Outlook     X    +                                                                                                                DI   X

+ (D ill, https://outlook.liv e.com/owa(lpath =/mail/AQMkADAwATY0MDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADkYXZ4                            <!   0. Search

m         Outlook Email                                                                                                                                                 0        •   t!I   ?

                                °'
                                                                                                                                                                                                    [l>
Search M ail and People                                      ~ Reply I"   iiii Delet e   ii Archiv e    Junk I "   Sw eep   M ov e t o "   Cat egories "               '9 Undo


     Folders                          (No subject)
"'


                                     •
         lnbox              5

         Junk Email                              Fiona Harvey                                                                                                     ~ Reply   Iv
                                                 Wed 01/06, 16:17
         Drafts                                  You :::::

         Sent Items
                                      I love trump I love trump
     v   Deleted Items    265
                                      Trump keeps me going
         Amazon

         Archive                      Luw in

         EDFRINGE 2013

         EDFRINGE 2014
                                      Sent from my iPhone
         EDFRINGE 2015

         EDFRINGE 2016

     "   Fiona H arvey

            Intense

            Super Intense

         Important

         Junk

         WFG Pilot




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 Foyles Book Search             X   ~ Mail - Richard - Outlook         X    +                                                                                                                 DI   X

+ ii (D Q https:j/outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                        0. Search

m        Outlook Email                                                                                                                                                     0        •   t!I   ?
Search M ail and People

                               °'    (No subject)
                                                               ~ Reply I"   iiii Delet e      ii Archiv e    Junk I "   Sw eep   M ove to v   Ca tegories v    t          '9 Undo


"' Folders


                                     •
        lnbox              5

        Junk Email                                 Fiona Harvey                                                                                                      ~ Reply   Iv
                                                   Thu 26/05, 2022
        Drafts                                     You :::::

        Sent Item s
                                     I'm counting out your assets. I think I've got fuk all
    v   Deleted Items     265
                                     I could pimp your aaas out
        Amazon

        Archive                      Oh fuk back sore

        EDFRINGE 2013                Notlning achieved today but teams of emails
        EDFRINGE 2014
                                     Tired of it
        EDFRINGE 2015                Back t o gerry rad f erry

        EDFRINGE 2016

    "   Fiona Harvey

           Intense
                                     Sent from my iPhone
           Super Intense

        Important

        Junk

        WFG Pilot




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  ~ How t o block phone num... X        ~ M ail - Richard - Out look        X     +                                                                                                                                           DI     X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                      0. Search

;;;       Outlook Email                                                                                                                                                                                   0       •    e       ?
Search Mal aod Peop3e      0.   @ New      V      .., Reply        j   Delete    i i Archive      Junk.   v   Sw eep    Move t o v    Categories v                                1'       ,I,   X      '9 Undo       ~ BRITISH r,,
                                                                                                                                                                                                                              AIRWAYS
      Fo lders                  (No subject)
"'                                                                                                                                                                                                                    Where in the
         !nbox
                                                                                                                                                                                                                      world
         Junk Emal              A, Fiona Harvey                                                                                                                               •        ,,...     . , Reply I "
                                . . . Sur 11/03 OE-53
         Drafts
                                          You "
         Sent Items
                                To be honest it's up to you but I w ant to suck. your cock. all day have u shag me and have a stab at this
      v Deietedltems     226
                                It's totally up to you
         Amazon

         Arctwe                 I need to get this place sorted out and fuck. loads work. to do

         EDFRINGE2013
         EDFRINGE 2014          Stnt from my I Phone

         EDFRINGE 2016
      ... Fiona Harvey
         Important
         Junk
         WFG Piot

         Wrestem allla

         EDFRINGE 2015                                                                                                                                                                                                ii


                                                                                                                                                                                                                  ., I>




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    Foyles Book Search               X   .) Mail - Richard - Outlook       X    +                                                                                                                X

  + ii (D Q https:j/outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                  X   0. Search

  m           Outlook Email                                                                                                                                               0        •   t!I   ?

                                 °'
                                                                                                                                                                                                     [l>
  Search M ail and People                                    ~ Reply I"         iiii Delet e   ii Archiv e    Junk I "   Sweep   M ove to v   Categories v    t          '9 Undo


       Folders                            (No subject)
  "'


                                          •
           lnbox                5

           Junk Email                                Fiona Harvey                                                                                                   ~ Reply   Iv
                                                     Wed 02/12/2015, 11-
           Drafts                                    You; Fiona Harvei         REDACTED
           Sent Items
                                          do you know sth gadd youve still blocked this email ..... so much for me
       v   Deleted Items       265        and pial coming to your show to work things out!!!!!

           Amazon
                                          why do I bother1???7???7???7???1???1?????why o h
           Archive                        why??????????????????????????????????????????the show was shit

           EDFRINGE 2013

           EDFRINGE 2014

           EDFRINGE 2015

           EDFRINGE 2016

       "   Fiona H arvey

                Intense

                Super Intense

           Important

           Junk
           \ MC r. O il,-,+
Waiting for ib.adnxs.com ...




                                                                                                             EXHIBIT 48
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  ~ How to block phone num... X          ~ Ma il - Richard - Out look        X      +                                                                                                                                    DI   X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                     0. Search

;;;        Outlook Email                                                                                                                                                                                 0       •   e    ?
Search Mal aod Peop3e        0.   @ New     V      .., Reply         j   Delete   i i Archive    Junk   v     Sw eep    Move t o v   Categories v                                1'       ,I,   X      ") Undo


                                  (No subject)
"' Fo lders
          !nbox

          Junk Emal               A, Fiona Harvey                                                                                                                            •        ,,...     . , Reply I "
                                  . . . T..e H!/11/2014 lt~
          Drafts
                                           You "
          Sent Items

      v   Deietedltems     226    Ps l'm clotting badly. I t hink w e can safely say I'm not menopausal babe. Xx

          Amazon                  Sent from my i Phone
          Arctwe

          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
      ,, Rona Harvt'Y

             Intense

             Super Intense

          lmiX)rtant

          Junk

          WFGPiot

          W resf,emania

          EDFRINGE 20 15




                                                                                                                                                                                                                 ., I>




                                                                                                                       EXHIBIT 48
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   ~ How to block phone num... X         I'"') M ail - Richard - Outlook   X    +                                                                                                                                                                     X

  + ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                X      0. Search

 ;;;       Outlook Email                                                                                                                                                                                                          0       •   e   ?
  Search Mal aod Peop3e      0.   @ New     V      .., Reply        j Delete   ii Archive    Junk.   v   Sw eep    Move t o v    Categories v                                                             1'       ,I,   X      ") Undo


                                  (No subject)
 "' Fo lders
          !nbox
                                  A, Fiona H arvey                                                                                                                                                    •        ,,...     . , Reply I "
         Junk Emal

          Drafts
                                  w-      T..e H!/11/2014 1152
                                           You "
          Sent Items

       v Deietedltems     226        . ... .. . . . . . .           ~          uv that. ltmAkm IUgh, It makes me laugh even. Reams of blood. By the way piers gas a great ass pinched if last night. Great ass-    REDACTED
         Amazon                         REDACTED
                                  Sent from my i Phone
         Arctwe

          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
       ,, Rona Harvt'Y
             Intense

             Super Intense

          lmiX)rtant

         Junk

         WFGPiot

         Wresf,emania

          EDFRINGE 2015




Waiting for pfa.levexis.com...                                                                                                                                                                                                            ., I>




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  ~ How to block phone num... X          ~ Ma il - Richard - Out look        X      +                                                                                                                                        DI       X

+ ii (D Q https://outlook.liv e.com/owa/?path= /mail/AQMkADAwATYOMDABLTlkNDctYmlAYzUtMDACLTAwCgAuAAADk                                                        0. Search

;;;        Outlook Email                                                                                                                                                                                    0       •   e     ?
Search M al aod Peop3e       0.   @ New     V      .., Reply         j   Delete   i i Archive   Junk.   v    Sw eep     Move t o v      Categories v                                1'       ,I,   X      ") Undo


                                  (No subject)
"' Fo lders
          !nbox
                                  A,
          Junk Emal

          Drafts
                                  w-       Fiona Harvey
                                           Wed 19/11i2014 1131
                                           You "
                                                                                                                                                                                •        ,,...     . , Reply I "




      v
          Sent Items

          Deieted ltems

          Amazon
                           226    This blood loss is excessive sounds gruesome but I should have kept it all in ajar to show the d r.

                                  Sent from my i Phone
                                                                                                                                                                                                                             •    /
          Arctwe

          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
      ,, Rona Harvt'Y

             Intense

             Super Intense

          lmiX)rtant

          Junk

          WFGPiot

          W resf,emania

          EDFRINGE 20 15
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  ~ How to block phone num... X          ~ M ail - Richard - Out look         X      +                                                                                                                                   DI   X

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"' Fo lders
          !nbox

          Junk Emal               A, Fiona Harvey                                                                                                                            •        ,,...     . , Reply I "
                                  . . . Sat 16/07 06,l.5.
          Drafts
                                           You "
          Sent Items
                                  Everyone is sick. of seeing these bloody silly Muslims on TV all day.
      v   Deieted ltems    226
                                  Sent from my i Phone
          Amazon

          Arctwe

          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
      ,. Fiona Harvey
             Intense

             Super lntf"M€

          lmiX)rtant

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          EDFRINGE 20 15




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  ~ How t o block phone num ... X       ~ M ail - Richard - Out look       X      +                                                                                                                                     DI   X

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"' Folders                                                                                                                                                                                                            close to
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        Junk Emal               A , Fiona Harvey                                                                                                                          •        ,,...     . , Reply I "        Comedy...
                                . . . Sur 2"9/05 12".35
         Drafts
                                           You "
         Sent Items
                                CAn I just say before I go out again I can't stand this gay business
      v Deietedltems     226
                                I could say I thinkjulia roberts is quite beautiful but I'm not gonna go down on her now am t
        Amazon

        Arctwe                  It makes me squirm actually

         EDFRINGE 2013          Gay women aye come onto me
         EDFRINGE 2014
                                I can't stand It
         EDFRINGE 2016
                                Yuk.yuk.
      ,, Rona Harvt'Y
            Intense             Sent from my i Phone

            Super lnteM€

         lmiX)rtant

        Junk

        WFGPiot

        Wresf,emania

         EDFRINGE 2015
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  ~ How t o block phone num... X          ~ M ail - Richard - Out look       X       +                                                                                                                                                      DI     X

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"' Folders                                                                                                                                                                                                                               Science
          !nbox

          Junk Emal                A, Fi.ona Harvey                                                                                                                                          •        ,,...     . , Reply I "            rict1on ...
                                   . . . Fn 06iOS. 17:LJ
          Drafts
                                            You "
          Sent Items
                                   r ve masturbated and looked at photos of cute babies now I'm gonna have a drink. so I can cope w en they tell me the wee poisoned dw arf has won.
      v   Deieted ltems    226
                                   I've done everything possible to calm me dow n.
          Amazon

          Arctwe                   Sent from my i Phone

          EDFRINGE 2013
          EDFRINGE 2014
          EDFRINGE 2016
      ,, Rona Harvt'Y
                                                                                                                                                                                                                                           tt
             Intense

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          lmiX)rtant

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          EDFRINGE 20 15
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   ~ How to block phone num... X          \ ) M ail - Richard - Out look       X     +                                                                                                                                    DI   X

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                                   (No subject)
 "' Fo lders
           !nbox

           Junk Emal               A, Fiona Harvey                                                                                                                            •        ,,...     . , Reply I "
                                   . . . Wed 27/04. 18'.03
           Drafts
                                            You "
           Sent Items
                                   Fed up w ith the highlight of my day being masturbating. I mean I like masturbating. But.
       v   Deieted ltems    226
                                   Sent from my i Phone
           Amazon

           Arctwe

           EDFRINGE 2013
           EDFRINGE 2014
           EDFRINGE 2016
       ,, Rona Harvt'Y
              Intense

              Super Intense

           lmiX)rtant

           Junk

           WFGPiot

           W resf,emania

           EDFRINGE 20 15




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